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      UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE



   SECURITIES AND EXCHANGE                                JUDGMENT IN A CIVIL CASE
   COMMISSION
                                                          CASE NUMBER 3:22-cv-5150-JHC
                             Plaintiff,
             v.

   S-RAY INCORPORATED and STEPHEN
   ALEXANDER BAIRD

                             Defendants.




       Jury Verdict. This action came before the Court for a trial by jury. The issues have been
       tried and the jury has rendered its verdict.

       Decision by Court. This action came to consideration before the Court. The issues have
       been considered and a decision has been rendered.



THE COURT HAS ORDERED THAT

       Default judgment against Defendants is granted. Further, the Court orders as follows:

                                                   A.

        Defendants are permanently restrained and enjoined from violating, directly or indirectly,
Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)]
and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or
instrumentality of interstate commerce, or of the mails, or of any facility of any national
securities exchange, in connection with the purchase or sale of any security:

       (a)        to employ any device, scheme, or artifice to defraud;
       (b)        to make any untrue statement of a material fact or to omit to state a material fact
                  necessary in order to make the statements made, in the light of the circumstances
                  under which they were made, not misleading; or
       (c)        to engage in any act, practice, or course of business which operates or would
                  operate as a fraud or deceit upon any person.
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        As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service or otherwise:
(a) Defendants’ officers, agents, servants, employees, and attorneys; and (b) other persons in
active concert or participation with Defendants or with anyone described in (a).

                                                B.

        Defendants are permanently restrained and enjoined from violating Section 17(a) of the
Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any
security by the use of any means or instruments of transportation or communication in interstate
commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;
       (b)     to obtain money or property by means of any untrue statement of a material fact
               or any omission of a material fact necessary in order to make the statements
               made, in light of the circumstances under which they were made, not misleading;
               or
       (c)     to engage in any transaction, practice, or course of business which operates or
               would operate as a fraud or deceit upon the purchaser.

        As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service or otherwise:
(a) Defendants’ officers, agents, servants, employees, and attorneys; and (b) other persons in
active concert or participation with Defendants or with anyone described in (a).

                                                C.

        Pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(5)], Baird is
permanently restrained and enjoined from directly or indirectly, including, but not limited to,
through any entity owned or controlled by Baird, participating in the issuance, purchase, offer, or
sale of any security.

        As provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
binds the following who receive actual notice of this Judgment by personal service or otherwise:
(a) Baird’s officers, agents, servants, employees, and attorneys; and (b) other persons in active
concert or participation with Baird or with anyone described in (a).

                                                D.

        Pursuant to Section 21(d)(2) of the Exchange Act [15 U.S.C. § 78u(d)(2)] and Section
20(e) of the Securities Act [15 U.S.C. § 77t(e)], Baird is prohibited from acting as an officer or
director of any issuer that has a class of securities registered pursuant to Section 12 of the
Exchange Act [15 U.S.C. § 78l] or that is required to file reports pursuant to Section 15(d) of the
Exchange Act [15 U.S.C. § 78o(d)].
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                                                E.

        S-Ray is liable for disgorgement of $1,254,230, representing net profits gained as a result
of the conduct alleged in the Complaint, together with prejudgment interest thereon in the
amount of $105,852.15, on a joint and several basis with Baird.

                                                F.

       S-Ray is liable for a civil penalty in the amount of $1,000,000 pursuant to Section
21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)] and Section 20(d) of the Securities Act [15
U.S.C. § 77t(d)].

                                                G.

        Baird is liable for disgorgement of $2,671,618.50, representing net profits gained as a
result of the conduct alleged in the Complaint, together with prejudgment interest thereon in the
amount of $470,865.24, in addition to the $1,360,082.15 owed on a joint and several basis with
S-Ray.

                                                H.

        Baird is liable for a civil penalty in the amount of $200,000 pursuant to Section 21(d)(3)
of the Exchange Act [15 U.S.C. § 78u(d)(3)] and Section 20(d) of the Securities Act [15 U.S.C.
§ 77t(d)].

                                                 I.

        Defendants S-Ray and Baird shall satisfy the obligations set forth above (paras. V, VI,
VII, VIII) by paying the amounts owed to the Securities and Exchange Commission within 30
days after entry of this Judgment.

        Defendants may transmit payment electronically to the Commission, which will provide
detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly
from a bank account via Pay.gov through the SEC website at
http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check, bank
cashier’s check, or United States postal money order payable to the Securities and Exchange
Commission, which shall be delivered or mailed to:

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169
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and shall be accompanied by a letter identifying the case title, civil action number, and name of
this Court; S-Ray or Baird as a defendant in this action; and specifying that payment is made
pursuant to this Judgment.

        Defendants shall simultaneously transmit photocopies of evidence of payment and case
identifying information to the Commission’s counsel in this action. By making these payments,
Defendants relinquish all legal and equitable right, title, and interest in such funds and no part of
the funds shall be returned to Defendants.

          The Commission may enforce the Court’s judgments for disgorgement and prejudgment
interest by using all collection procedures authorized by law, including, but not limited to,
moving for civil contempt at any time after 30 days following entry of this Judgment.

        The Commission may enforce the Court’s judgment for penalties by the use of all
collection procedures authorized by law, including the Federal Debt Collection Procedures Act,
28 U.S.C. § 3001 et seq., and moving for civil contempt for the violation of any Court orders
issued in this action. Defendants shall pay post judgment interest on any amounts due after 30
days of the entry of this Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the
funds, together with any interest and income earned thereon (collectively, the “Fund”), pending
further order of the Court.

        The Commission may propose a plan to distribute the Fund subject to the Court’s
approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund
provisions of Section 308(a) of the Sarbanes-Oxley Act of 2002. The Court shall retain
jurisdiction over the administration of any distribution of the Fund and the Fund may only be
disbursed pursuant to an Order of the Court. Regardless of whether any such Fair Fund
distribution is made, amounts ordered to be paid as civil penalties pursuant to this Judgment shall
be treated as penalties paid to the government for all purposes, including all tax purposes.

                                                  J.

         The Court shall retain jurisdiction of this matter for the purposes of enforcing the terms
of this Judgment.

       Dated January 6, 2023.

                                                 Ravi Subramanian
                                                 Clerk of Court

                                                 /s/Ashleigh Drecktrah
                                                 Deputy Clerk
